                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                         No: 23-1293

                             Associated Electric Cooperative, Inc.

                                                    Appellant

                                               v.

                                  Southwest Power Pool, Inc.

                                                    Appellee

                                         No: 23-2627

                             Associated Electric Cooperative, Inc.

                                                    Appellee

                                               v.

                                  Southwest Power Pool, Inc.

                                                    Appellant

______________________________________________________________________________

      Appeal from U.S. District Court for the Western District of Missouri - Springfield
                                  (6:22-cv-03030-BCW)
                                  (6:22-cv-03030-BCW)
______________________________________________________________________________

                                         MANDATE

       In accordance with the opinion and judgment of August 5, 2024, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                      August 26, 2024




Acting Clerk, U.S. Court of Appeals, Eighth Circuit


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